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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

    ROBERT WHARTON                                :          CIVIL ACTION
                                                  :
      v.                                          :          No. 01-6049-MSG
                                                  :
    DONALD T. VAUGHN                              :          THIS IS A CAPITAL CASE

                                              ORDER

           AND NOW, this 22nd day of June, 2022, upon consideration of Respondents’ Expedited

Motion to the Chief Judge of the Eastern District of Pennsylvania to Transfer the Investigation of

Possible Professional Conduct Violations Pursuant to Local Civil Rule 83.6(V)(A), or, in the

Alternative, to Certify Pursuant to 28 U.S.C. § 1292(b), it is ORDERED the Motion (Document

302) is DENIED. 1



1
  On May 13, 2022, the Honorable Mitchell S. Goldberg scheduled a hearing regarding a possible
breach of the duty of candor to the Court on the part of the Philadelphia District Attorney’s Office
in this case, as outlined in his Memorandum of May 11, 2022. After unsuccessfully moving before
Judge Goldberg to cancel the hearing or, alternatively, to transfer the matter to the undersigned, in
my capacity as Chief Judge, pursuant to Local Civil Rule 83.6, Respondents now seek a transfer
of the allegations of possible professional misconduct from the undersigned. Because I am not
persuaded the Rule authorizes me to grant the relief requested, and because I agree with Judge
Goldberg that transfer is not required at this juncture under the Rule, the motion is denied.
         Local Civil Rule 83.6(V) provides, in relevant part, as follows:
         When the misconduct or other basis for action against an attorney . . . or allegations
         of the same which, if substantiated, would warrant discipline or other action against
         an attorney admitted to practice before this court shall come to the attention of a
         Judge of this court, whether by complaint or otherwise, and the applicable
         procedure is not otherwise mandated by these Rules, the judge shall refer the matter
         to the Chief Judge who shall issue an order to show cause.
Local R. Civ. P. 83.6(V)(A).
         The role of the Chief Judge in initiating disciplinary proceedings under the Rule is limited.
The Rule authorizes the Chief Judge to act upon receipt of a referral from another district judge.
It does not authorize the Chief Judge to act in the absence of such a referral, and nothing in the
Rule suggests the Chief Judge may divest a presiding judge of his or her inherent authority to
address litigation conduct by attorneys in a matter before that judge. Because there has been no
referral pursuant to the Rule in this case, I lack jurisdiction to grant the motion.
         Even if I had the authority to transfer this matter, I agree with Judge Goldberg that while
any disciplinary matters arising from this case should be referred to the Chief Judge at the
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                                                      BY THE COURT:



                                                         /s/ Juan R. Sánchez      .
                                                      Juan R. Sánchez, C.J.




appropriate time, transfer is not required at this juncture for the reasons outlined in his order
denying Respondents’ motion to cancel the hearing. See Order ¶¶ 4-5, ECF No. 304.
        Respondents alternatively argue that if I do not assume jurisdiction and authority over this
matter, the matter should be certified for appeal pursuant to 28 U.S.C. § 1292(b). Such
certification is appropriate when (1) the order at issue “involves a controlling question of law”; (2)
the controlling question of law is one “as to which there is substantial ground for difference of
opinion”; and (3) “an immediate appeal from the order may materially advance the termination of
the litigation.” 28 U.S.C. § 1292(b). Respondents have not met the first two requirements.
Moreover, Respondents have not shown how an immediate appeal would materially advance the
termination of the litigation. Rather, it would merely transfer the matter to another tribunal.
Accordingly, the request for certification is also denied.
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